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11
                              UNITED STATES DISTRICT COURT
12
                          SOUTHERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,              Case No. 18CR3677(1)-W
15               Plaintiff,                 PRETRIAL MOTION TO EXCLUDE:
16         v.                               (1) EVIDENCE AND ARGUMENT
                                                REGARDING OTHER
17   DUNCAN D. HUNTER,                          CONGRESSMEMBERS’ MISUSE OF
                                                CAMPAIGN FUNDS;
18                                          (2) TESTIMONY AS TO LEGAL
                 Defendant.
19                                              CONCLUSIONS CONCERNING
                                                HUNTER’S GUILT OR INNOCENCE;
20                                              AND
                                            (3) TESTIMONY AS TO HUNTER’S
21                                              BELIEF THAT HIS ACTIONS WERE
                                                LAWFUL
22
23
24        The United States of America, by and through its counsel David D. Leshner, Attorney

25 for the United States, and Emily W. Allen, W. Mark Conover, Phillip L.B. Halpern, and
26 Bradley G. Silverman, Assistant U.S. Attorneys, hereby moves to exclude inadmissible
27 evidence and improper argument as described herein.
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 1                                               I.
 2                                      INTRODUCTION
 3        On August 21, 2018, Duncan D. Hunter (“Hunter” or “the defendant”) and Margaret
 4 Hunter were indicted and charged with one count of conspiracy against the United States, in
 5 violation of 18 U.S.C. § 371; 43 counts of wire fraud, in violation of 18 U.S.C. §§ 1343 and
 6 2; 13 counts of falsification of records related to campaign finance, and three counts of
 7 prohibited use of campaign contributions, in violation of 52 U.S.C. §§ 30109(d) and
 8 20114(b)(1) and 18 U.S.C. § 2. On June 13, 2019, Margaret Hunter entered a guilty plea to
 9 Count One of the indictment, pursuant to a plea agreement.
10        Trial against Hunter is set to begin on September 10, 2019. By this motion, the United
11 States seeks to preclude Hunter from attempting to elicit: (1) evidence or argument regarding
12 other congressmembers’ use of campaign funds to make personal expenditures; (2) testimony
13 offering legal conclusions as to Hunter’s innocence or guilt; and (3) testimony as to Hunter’s
14 state of mind from witnesses other than Hunter himself. Whether other congressmen embezzle
15 campaign funds has no bearing on Hunter’s own guilt or innocence. Likewise, witnesses are
16 not competent to opine on the legality of Hunter’s behavior or to draw conclusions or make
17 statements as to Hunter’s state of mind. Such evidence is inadmissible and improper.
18                                               II.
19                                          ANALYSIS
20        A.     Evidence and Argument Regarding Other Congressmembers’ Use of
21               Campaign Funds is Improper and Inadmissible
22        The United States anticipates that at trial, Hunter may argue that his routine personal

23 use of campaign funds was also routine for other members of Congress; that among his
24 contemporaries, it is normal and acceptable to treat one’s campaign treasury as a personal
25 slush fund. He may suggest that the personal use of campaign money is simply a part of life
26 in Washington, just “the way things are done”—and therefore, that he didn’t know any better
27 himself.
28       This defense, however, has a crucial flaw. Evidence that other congressmembers use

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 1 campaign funds for personal expenses is wholly irrelevant to Hunter’s own culpability for
 2 embezzlement. See United States v. Pitt-Des Moines, Inc., 168 F.3d 976, 991 (7th Cir. 1999)
 3 (district court properly “excluded evidence based on a fear that the jury might find [defendant]
 4 not guilty because ‘everyone does it’”); United States v. Fowler, 932 F.2d 306, 315–16 (4th
 5 Cir. 1991) (evidence on “‘the everybody-does-it’ defense” is “irrelevant”); United States v.
 6 Page, 959 F.2d 232, at *2 (4th Cir. 1992) (unpublished) (“A thief is not less a thief if he lives
 7 in a den of thieves.”).
 8         Evidence that other members of Congress similarly embezzle campaign funds would
 9 show only that they have violated the law, not that Hunter did not. See Matter of Husain, 866
10 F.3d 832, 835 (7th Cir. 2017) (attorney’s claim that most bankruptcy lawyers commit fraud
11 would only “mean that more disciplinary proceedings are in order; it would not exculpate” the
12 attorney in disbarment action); LaCrosse v. CFTC, 137 F.3d 925, 933 (7th Cir. 1998) (“illegal
13 trades [do not] become more palatable because others participated in the same behavior”).
14 Such evidence also would be unduly prejudicial, serving no purpose but to inflame the jury’s
15 emotions and encourage nullification. See United States v. Kleinman, 880 F.3d 1020, 1031
16 (9th Cir. 2017) (courts have a duty to forestall or prevent nullification). As any kindergartener
17 can attest, “everyone else was doing it” simply is no excuse for wrongful behavior.
18         Hunter’s congressional colleagues’ practices in spending their own campaign funds has,
19 on its own, little or no bearing on Hunter’s own liability. In United States v. Warner, a
20 corruption trial involving bribery, embezzlement, and related crimes, the defense sought to
21 admit evidence that prior government administrations had engaged in similar conduct, arguing
22 that such evidence helped establish the defendant’s good faith. 396 F. Supp. 2d 924, 936-37
23 (N.D. Ill. 2005). The district court noted the logical fallacy in this argument: “[t]he mere fact
24 that somebody else does it doesn't help a whole lot with anybody determining whether what
25 happened in this case violated the law.”         Id. at 973 (quoting court’s observations in
26 codefendant Scott Fawell’s hearing). Similarly here, any testimony by Hunter’s father, former
27 Representative Duncan L. Hunter, or any of Hunter’s current or former congressional
28 colleagues as to how they spent their own campaign funds would be improper, because it has

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 1 no bearing on Hunter’s own conduct or state of mind.1 See id. (“any attempt to establish
 2 [defendants’] innocence based on the fact that other administrations acted in the same manner
 3 would be improper—arguably akin to a driver pulled over for speeding who, unaware of the
 4 lawful limit, concludes that 80 m.p.h. is acceptable because she observed other drivers passing
 5 her.”); United States v. Fawell, Crim. No. 2-310, 2003 WL 21544239, at *8 (N.D. Ill. July 9,
 6 2003) (“Whether the practice was common or uncommon, it was improper and the charged
 7 activities were unlawful.”); United States v. Oldbear, 568 F.3d 814, 821 (10th Cir. 2009)
 8 (affirming exclusion of testimony by other individuals who received tribal funds for personal
 9 use in defendant’s embezzlement trial because “the fact that others may have been the
10 beneficiaries of improper conduct does nothing to excuse [defendant]”).
11         B.     Testimony Offering Conclusions As To Hunter’s Culpability is Improper
12                and Inadmissible
13         Nor can Hunter elicit testimony that any particular expenditure of campaign funds he

14 made was appropriate. Lay witness opinion testimony must be “helpful to clearly
15 understanding the witness’s testimony or to determining a fact in issue.” Fed. R. Evid. 701.
16 “It is black-letter law that it is not for witnesses to instruct the jury as to applicable principles
17 of law, but for the judge.” Nieves-Villanueva v. Soto-Rivera, 133 F.3d 92, 99 (1st Cir. 1997).
18 While Hunter may question witnesses about matters such as who was present while he was
19 making particular expenditures or what topics were discussed, testimony that his purchases
20 were appropriate—e.g., because they were made while campaign staff were present or while
21 campaign matters were being discussed—calls for a bare “conclusion as to the legality of [his]
22 conduct, which is unhelpful to the jury under Rule 701.” United States v. Wantuch, 525 F.3d
23 505, 514 (7th Cir. 2008); see also United States v. Locke, 643 F.3d 235, 241 (7th Cir. 2011)
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           The Court must carefully police the boundary between bona fide evidence of Hunter’s
25 intent and generalized evidence of congressional corruption unconnected to Hunter’s own
26 state of mind. Evidence of other congressmen’s embezzlement could only be relevant if
   Hunter lays a proper foundation that ties the evidence directly to his own state of mind.
27 Otherwise, what other members did with their money says nothing about the legality of
28 Hunter’s conduct.

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 1 (“a witness’s opinion that the facts in a case meet the elements of the charged crime will likely
 2 constitute unhelpful testimony because it merely tells the jury what result to reach.”); United
 3 States v. Noel, 581 F.3d 490, 496 (7th Cir. 2009) (“a lay witness’s purpose is to inform the
 4 jury what is in the evidence, not to tell it what inferences to draw from that evidence.”).
 5         C.    Testimony Offering Speculation Into Hunter’s Purported Beliefs is
 6               Improper and Inadmissible
 7         Finally, Hunter cannot elicit testimony from third parties as to his own subjective belief

 8 that any particular expenditure of campaign funds were appropriate or lawful. “A witness may
 9 testify to a matter only if evidence is introduced sufficient to support a finding that the witness
10 has personal knowledge of the matter.” Fed. R. Evid. 602. Testimony as to Hunter’s beliefs
11 about the lawfulness of his campaign spending is speculative, falling outside the personal
12 knowledge of anyone but Hunter himself. See United States v. Hauert, 40 F.3d 197, 202 (7th
13 Cir. 1994) (“[D]efendant’s beliefs about the propriety of his filing returns and paying taxes,
14 which are closely related to defendant’s knowledge about tax laws and defendant’s state of
15 mind in protesting his taxpayer status, are ordinarily not a proper subject for lay witness
16 opinion testimony absent careful groundwork and special circumstances not present here. In
17 this case, such testimony was not helpful to the jury.” (citation omitted)); see also Wantuch,
18 525 F.3d at 514 (finding error in district court’s admission of lay witness’s conclusion that
19 defendant knew what he was doing was illegal, though concluding error was harmless). Such
20 testimony is also inadmissible hearsay, and further, any probative value is substantially
21 outweighed by the danger of unfair prejudice such evidence would inject. Fed. R. Evid. 801,
22 802, 403.
23       Hunter is free to testify as to his own subjective beliefs, subject to cross-examination

24 and the jury’s evaluation. But he may not use the speculation of third party witnesses to
25 introduce evidence about his own state of mind.
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1                                              III.
2                                       CONCLUSION
3        For the foregoing reasons, this Court should exclude (1) evidence or argument
4 regarding other congressmembers’ use of campaign funds to make personal expenditures;
5 (2) testimony offering legal conclusions as to Hunter’s innocence or guilt; and (3) testimony
6 as to Hunter’s state of mind from witnesses other than Hunter himself.
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         DATED: June 24, 2019
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                                                      Respectfully submitted,
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10                                                    DAVID D. LESHNER
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12                                                    s/ Bradley G. Silverman
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